        19-13895-jlg      Doc 318      Filed 07/21/20 Entered 07/21/20 09:32:42                 Blank Notice
                                             (wysiwyg) Pg 1 of 1
                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF NEW YORK
                                                One Bowling Green
                                             New York, NY 10004−1408


IN RE: Orly Genger                                          CASE NO.: 19−13895−jlg

Social Security/Taxpayer ID/Employer ID/Other Nos.:         CHAPTER: 7
xxx−xx−8893




                 NOTICE TO ALL CREDITORS AND INTERESTED PARTIES



Please be advised that all matters scheduled for July 21, 2020 has been adj to a date to be determined.



Dated: July 21, 2020                                         Vito Genna
                                                             Clerk of the Court
